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                                UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA

      UNITED STATES OF AMERICA,                  )
                                                 )
                           Plaintiff,            )       CASE NO.: 2:09-CR-0510-PMP-RJJ
                                                 )
      v.                                         )       ORDER DIRECTING U.S. MARSHAL
                                                 )       TO ARRANGE TRANSPORTATION
       VENIAMIN LAOUGINE, et al.                 )       TO HEARING
                                                 )
                           Defendant.            )
                                                 )

             Having reviewed the defendant’s Ex Parte Motion for Order Directing the U.S. Marshal

      to Arrange Transportation to Hearing, and good cause appearing therefor:

             IT IS HEREBY ORDERED that the United States Marshal shall arrange one-way

      transportation for defendant, VENIAMIN LAOUGINE , to travel from 6533 Beverly Crest

      Drive, West Bloomfield, Michigan to Las Vegas, Nevada on or before Wednesday, May 18,

      2011 at the hour of 9:00 A.M. for the purpose of appearing before JUDGE PHILLIP PRO FOR

      CHANGE OF PLEA HEARING.

             This order is limited to payment of one-way transportation to the above-referenced court

      appearance only.

                          12th day
             DATED this _______ dayofofMay, 2011.                    , 2011.




                                                 ____________________________________
                                                 U.S. DISTRICT
                                                 PHILIP  M. PRO,/ U.S.
                                                                  MAGISTRATE    JUDGE
                                                                       DISTRICT JUDGE
